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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Case No. 22-cr-212-RMR

UNITED STATES OF AMERICA,

       Plaintiff,
v.

JOSEPH EUGENE CLEMENTS

       Defendant.


           GOVERNMENT’S MOTION TO RESTRICT ECF DOCUMENT 87


       The United States of America, by and through Assistant United States Attorney
Timothy J. Forwood, respectfully moves to restrict ECF document 87, any order
revealing the contents of that document, and the brief filed in support of this motion, for
the reasons stated in the brief filed in support of this motion. The United States requests
a “Level 2" Restriction which would make ECF document 87, any order revealing the
contents of that document and the brief filed in support of this motion, “viewable by
Selected Parties & Court” only.
                                     Respectfully submitted,
                                     NICHOLAS VASSALLO
                                     United States Attorney

                             By:      s/ Timothy J. Forwood
                                     TIMOTHY J. FORWOOD
                                     Special Assistant United States Attorney
                                     Acting Under Authority Conferred by 28 U.S.C. § 515
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       I hereby certify that the foregoing pleading complies with the type-volume limitation set

forth in Judge Rodriguez’s Practice Standard III(A) and (C).

                                            /s/ Timothy J. Forwood
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                            CERTIFICATE OF SERVICE

       I hereby certify that on this 21st day of February, 2023, I electronically filed the

foregoing MOTION TO RESTRICT ECF DOCUMENT 87 with the Clerk of the Court using

the CM/ECF system which will send notification of such filing to Defense Counsel.



                                    By: s/ Timothy J. Forwood
                                    TIMOTHY J. FORWOOD
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